             Case 2:15-cv-00993-GMS Document 21 Filed 12/30/15 Page 1 of 2




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 6   Attorney for Plaintiff Margaret Meltzer
 7
                                 UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF ARIZONA
 9
10                                                      Case No. 2:15-CV-00993-GMS
     Margaret Meltzer,
11                                                      NOTICE OF SETTLEMENT
                   Plaintiff,
12
            v.
13
     The Hartford Life and Accident Insurance
14   Company,
                  Defendants.
15
16
            Plaintiff hereby gives notice that this case has settled. The parties are working on
17
     finalizing the settlement documentation at this time. The parties will, as soon as possible,
18
     file with the Court a Stipulation and Order to dismiss this case with prejudice.
19
                          RESPECTFULLY SUBMITTED this 30th day of December, 2015.
20
                                                       By:   /s/ Scott E. Davis
21                                                           Scott E. Davis
                                                             Attorney for Plaintiff
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26
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             Case 2:15-cv-00993-GMS Document 21 Filed 12/30/15 Page 2 of 2



                                     CERTIFICATE OF SERVICE
 1
     I hereby certify that on December 30, 2015 I electronically transmitted the attached document
 2   to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
     Electronic Filing to the following CM/ECF registrants:
 3
     Kristina Holmstrom, Esq.
 4   Lewis, Roca, Rothgerber
     201 E. Washington Street
 5   Suite 1200
     Phoenix, AZ 85004
 6
     By: Lisa L. Martinez
 7   An employee of Scott E. Davis
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